Case 7:12-cr-00042-MFU      Document 526 Filed 10/31/16            Page 1 of 1       Pageid#:
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                                                                          CLERKS OFFICE U.S. DISX COURT
                                                                                AT ROANOKE,.VA
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                     IN TH E UNITED STATES DISTRICT COURT
                    FO R TH E W E STER N D ISTR ICT O F VIR G IN IA                 02T 8 I2216
                                R O A N O K E D IV ISIO N
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UNITED STATES OF AM ERICA                          C ase N o.7:12-cr-00042-5          p'
                                                                                       1N CLERK

V.                                                 M EM O R AN D UM O PIN IO N

M ARCHETTA A.JONES,                                By:   H on.M ichaelF.Urbansld
       Petitionep          '                             United StatesDistriçtJudge

       M archettaA.Jones,afederalinm ateproceeding pro K ,tiled amotion tovacate,set
                                                          .




asideorcorrectsentencepursuantto28U.S.C.j2255.Courtrecordsindicatethatthecourt
alreadydismissed(Dkt.No.466)apdorj2255motion (Dkt.No.433)bywllichPetitionercould
haveraisedclaimsnow presented.Thus,claimsinthej2255motionconstituteasecondor
subsequentmotionunder28U.S.C.j2255419.See.e.g.,UnitedStatesv.Hairston,754F.3d
258,262 (4thCir.2014).
       Thecourtmay considerasecondorsuccessivej2255motiononlyupon specific
certiscation from theUnitedStatesCourtofAppealsforthe
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                                                      FourthCircuitthataclaim inthe
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motiop meetscertain criteria. See28 U.S.C.j22551).AsPetitionerhasnotsubmitt
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evidenceofhaving obtained certifcition from theCourtofAppealsto filea second or
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                .                  'y.
successivej2255motion,thecotu'tdismissesthej2255motionwithoutprejudiceas
successive.Based uponthecourt'stinding thatPetitionerhasnotmadetherequisitesubstantial

showingofdenialofaconstitutionalrightasrequiredby28U.S.C.j2253(c),acertiscateof
appealability isdenied.

      ENTER:ThisS l dayofOctober,2016.
                                                 5 /* 4A gJ /.W                            '
                                                   United StatesDistrictJudge
